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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :             22 Cr. 32 (JPC)
                                                                       :
SETH ANDREW,                                                           :    MEMORANDUM OPINION
                                                                       :        AND ORDER
                                    Defendant.                         :
                                                                       :
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JOHN P. CRONAN, United States District Judge:

        The United States Probation Office has requested that the Court terminate Defendant Seth

Andrew’s term of supervised release, which is scheduled to conclude on May 14, 2026. The Court

solicited and received submissions from the Government and Defendant with their views on the

request. See Dkts. 56 (“Govt. Opp.”), 57 (Defendant’s submission). For reasons that follow, the

request is denied without prejudice to renewal at a later point of Defendant’s period of supervision.

                                                I. Background

        On March 28, 2019 and October 17, 2019, Defendant made unauthorized withdrawals of

approximately $218,000 held in three escrow accounts maintained by his former employer,

Democracy Prep Public Schools (“DPPS”), and deposited those funds in newly-created bank

accounts under his control. See Presentence Investigation Report (“PSR”) ¶¶ 28-31, 38-39; Dkt.

30 (“Plea Tr.”) at 33:1-11. On January 14, 2022, Defendant pled guilty, pursuant to a plea

agreement, to one count of wire fraud in violation of 18 U.S.C. § 1343. Plea Tr. at 37:17-19; Dkt.

49 (“Judgment”) at 1. On July 28, 2022, the Court sentenced Defendant to a term of imprisonment

of twelve months and one day, followed by a three-year term of supervised release, and imposed

a $5,000 fine and a $100 special assessment. Dkt. 51 (“Sentencing Tr.”) at 49:1-4, 51:12-20,

51:25-52:6; Judgment at 2-3, 6.
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        In his plea agreement, Defendant agreed to restitution in the amount of $218,005 and

forfeiture in the amount of $22,537.47. PSR ¶¶ 5-6. Defendant satisfied both of those obligations

in advance of sentencing, and since has additionally satisfied the other financial obligations of his

sentence. See Judgment at 6-7; Sent. Tr. at 50:25-51:11; Govt. Opp. at 4.

        Defendant began his term of incarceration on September 22, 2022. Govt. Opp. at 3. On

December 29, 2022, Defendant was released to a halfway house and the Bureau of Prisons

(“BOP”) determined that Defendant “was suitable to complete his sentence on home confinement

as opposed to a BOP-managed facility.” Id. Defendant remained on home confinement until

commencing his three-year term of supervised release on or around May 16, 2023. Id. 1

        On February 21, 2025, the Court received from the Probation Office a request for early

termination of Defendant’s supervised release. The Probation Office explains that Defendant “has

demonstrated having the necessary skill set to continue to be a productive member of society and

the ability to lawfully self-manage beyond the period of supervision.” The Probation Office

indicates that, if the request for early termination of supervised release is denied, it “will request a

pre-transfer investigation be conducted by the U.S. Probation Office in the Southern District of

Iowa,” where Defendant presently resides with his family.

        On February 21, 2025, the Court solicited submissions from the parties with their positions

on the Probation Office’s request. Dkt. 55. On March 7, 2025, the Government filed a letter

expressing its opposition to early termination of Defendant’s supervision. Dkt. 56. Defendant,

proceeding pro se, filed a letter dated March 20, 2025, in support of early termination. Dkt. 57. 2


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         While the Government’s submission indicates that Defendant began his term of
supervised release on May 16, 2023, Govt. Opp. at 3, the Probation Office informs the Court that
Defendant’s term of supervised release commenced on May 15, 2023.
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         Defendant’s letter primarily argues that his underlying conviction was contrary to law,
contends that his prosecution was politically motivated, and criticizes the actions of one of the
federal prosecutors involved in this case. See Dkt. 57-2.
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                                           II. Discussion

        Pursuant to 18 U.S.C. § 3583(e)(1), “after considering the factors set forth in section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7),” a court may “terminate

a term of supervised release and discharge the defendant released at any time after the expiration

of one year of supervised release, . . . if it is satisfied that such action is warranted by the conduct

of the defendant released and the interest of justice.” But “[e]arly termination is not . . . warranted

as a matter of course.” United States v. Rosario, No. 17 Cr. 27 (LTS), 2023 WL 7305260, at *2

(S.D.N.Y. Nov. 6, 2023) (internal quotation marks omitted). Section 3583(e)(1) allows a district

judge to terminate a defendant’s supervised release early “to account for new or unforeseen

circumstances.” United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997); see United States v.

Parisi, 821 F.3d 343, 347 (2d Cir. 2016) (per curiam) (explaining that “new or changed

circumstances relating to the defendant” are not necessarily required to modify conditions of

supervised release; “So long as the court, when modifying supervised release conditions, considers

the relevant 18 U.S.C. § 3553(a) sentencing factors, there is no additional requirement that it make

a finding of new or changed circumstances with respect to the defendant.” (citing Lussier, 104

F.3d at 36, among other cases)).           “Occasionally, changed circumstances—for instance,

exceptionally good behavior by the defendant or a downward turn in the defendant’s ability to pay

a fine or restitution imposed as conditions of release—will render a previously imposed term or

condition of release either too harsh or inappropriately tailored to serve the general punishment

goals of section 3553(a).” Lussier, 104 F.3d at 36.

        The Court declines to terminate early Defendant’s term of supervised release. The nature

and circumstances of the offense, 18 U.S.C. § 3553(a)(1), and the need to afford adequate

deterrence to criminal conduct, id. § 3553(a)(2)(B), counsel against early termination. To start,

Defendant committed a serious fraud. As the Court discussed at sentencing, removing funds from

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the escrow accounts in question “could have been disastrous for th[e victim] schools and their

status in New York State.” Sentencing Tr. at 43:15-16. It appears that Defendant took these illegal

acts because he was unhappy that DPPS was unwilling to accede to his demands in an employment

negotiation. Id. at 41:2-16. This “troubling” motive demonstrates that the actions taken were an

“intentional and deliberate act” of retribution against the employer. Id.

       As the Court also remarked at sentencing, this conduct demands “some degree of . . .

deterrence.” Id. at 44:4-5; see 18 U.S.C. § 3553(a)(2)(B). As to individual deterrence, although

Defendant otherwise has generally led a law-abiding life, his actions cannot be dismissed as an

isolated poor decision or a one-off transgression; in fact, he illegally withdrew additional funds six

months after he committed the first act of fraud. Sentencing Tr. at 44:6-13. General deterrence

also counsels against early termination. As the Court explained, Defendant’s sentence was

intended to send a message that “those who might be tempted to abuse a position of trust must

realize that criminal activity will not be tolerated and will result in appropriate consequences.” Id.

at 44:14-17. “The need for general deterrence is particularly acute in the context of white-collar

crime,” as persons who commit such crimes “are capable of calculating the costs and benefits of

their illegal activities relative to the severity of the punishments that may be imposed.” United

States v. Johnson, No. 16 Cr. 457 (NGG), 2018 WL 1997975, at *5 (E.D.N.Y. Apr. 27, 2018)

(internal quotation marks omitted).

       To be sure, the remaining applicable Section 3553(a) factors are, on balance, neutral to the

analysis. For example, as explained at sentencing, Defendant’s “history and characteristics are

strong mitigating factors” and Defendant “has done considerable good for much of his life.”

Sentencing Tr. at 44:24-25, 45:19-20. Thus, the Court sees minimal need “to protect the public

from further crimes of the defendant.” 18 U.S.C. § 3553(a)(2)(C). Nor does the Court consider

continued supervised release necessary “to provide the defendant with needed educational or

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vocational training, medical care, or other correctional treatment in the most effective manner.”

Id. § 3553(a)(2)(D). As the Court recounted at sentencing, Defendant has taken advantage of many

opportunities he has received in life, including receiving an excellent education. Sentencing Tr.

at 44:25-45:18. And according to the Probation Department, Defendant has secured stable and

high-paying employment while on supervision.

       Regarding the “kinds of sentence and the sentencing range established for” the offense, the

consideration of “pertinent policy statement[s],” and the “need to avoid unwarranted sentencing

disparities,” 18 U.S.C. § 3353(a)(4)-(6), the Court notes that Defendant’s sentence reflected a

significant downward variance from his advisory Guidelines range of 21 to 27 months’

imprisonment and fine range of $10,000 to $95,000. Sentencing Tr. at 10:19-20. Defendant also

has satisfied his restitution obligation and therefore supervised release would not serve “the need

to provide restitution to any victims of the offense.” 18 U.S.C. § 3553(a)(7). But the Court was

aware that Defendant had satisfied that obligation at sentencing when it imposed a three-year term

of supervised release, after carefully considering the Section 3553(a) factors. Sentencing Tr. at

18:22-24.

       Defendant further maintains this his “exceptionally good behavior” while on supervised

release warrants early termination. Dkt. 57-2 at 1. While the Court commends Defendant for

complying with the conditions of his current supervision and for his overall progress since being

released from custody—including by successfully gaining employment, not incurring any new

arrests, and satisfying his remaining court-imposed financial obligations—such compliance is

expected of one under supervision. United States v. Wheeler, No. 20 Cr. 492 (GHW), 2023 WL

4561591, at *1 (S.D.N.Y. July 17, 2023) (“Full compliance with the terms of supervised release is

what is expected of a person under the magnifying glass of supervised release and does not warrant

early termination.” (internal quotation marks omitted)); accord, e.g., United States v. Scarpa, No.

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18 Cr. 123 (CBA), 2024 WL 1886681, at *1 (E.D.N.Y. Apr. 30, 2024); Rosario, 2023 WL

7305260, at *3; United States v. Auerbach, No. 19 Cr. 607 (PKC), 2023 WL 4600065, at *1-2

(E.D.N.Y. July 18, 2023). “Compliance with release conditions does not, by itself, provide a basis

for early termination of supervised release.” United States v. Guerrero-Fajardo, No. 23 Cr. 210

(JPC), 2024 WL 3925338, at *2 (S.D.N.Y. Aug. 23, 2024).

       Nor is there any reason to conclude that the conditions of Defendant’s supervised release

have imposed unusual burdens on him or otherwise interfered with his ability to adjust to society.

Indeed, the Probation Office reports that Defendant is supervised on its “administrative caseload,

where his reporting requirements are minimal, requiring monthly, online reports.”

       In sum, the nature and circumstances of the offense and the need to afford adequate

deterrence to criminal conduct counsel towards denying Defendant’s request for early termination,

whereas the remaining relevant Section 3553(a) factors neither militate against early termination

nor do they suggest that the Court should grant the request. In light of Defendant’s circumstances

and the Court’s evaluation of the applicable Section 3553(a) factors, early termination of

supervised release is not warranted.

                                        III. Conclusion

       Accordingly, the Court declines to terminate Defendant Seth Andrew’s period of

supervised release. This denial is without prejudice to the Probation Office, Defendant, or the

Government making another application for early termination in the future if appropriate.

       SO ORDERED.

Dated: April 2, 2025                                __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




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